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                                                                                       FILED
                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS                                           01   2018
                                                                                 CLERK. U.S         c       RK
                               DEL RIO DIVISION                                 WESTERN DSTC2.#XAS
                                                                                BY
UNITED STATES OF AMERICA                                                                                DEPUTY
                                                §

                                                §
vs.                                             §      NO: DR:17-CR-00976(1)-AM
                                                §
(1) IRENE ARVISO MORENO                         §



                      ORDER REVOKING SUPERVISED RELEASE
                        AND RE-SENTENCING DEFENDANT

       On October 24, 2018, came on to be heard before the Court, the Government's Petition

to Revoke the Defendant's term   of supervised release filed on July 26, 2018. The defendant, (1)

IRENE ARVISO MORENO, appeared with his attorney Robert Garza, and the government

appeared by Assistant United States Attorney, Paul Harle, in the above-entitled and numbered

criminal action.

       The defendant pled not true to the Violations alleged in the Petition to Revoke

Supervised Release.

       The Court finds by a preponderance of the evidence, after having conducted an

evidentiary final revocation hearing on October 24, 2018, that the defendant has violated the

terms of supervised release as alleged in the said petition. Thus, the Government's petition to

revoke will be and is hereby GRANTED.

       It is hereby ORDERED that the terms     of supervised release ordered on April 12, 2018,

as set out in the judgment entered on April 20, 2018, being the same, is hereby revoked and set

aside pursuant to the Sentencing Reform Act of 1984.

       It is further ORDERED that the defendant, (1) IRENE ARVISO MORENO                           be
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committed to the custody of the U.S. Bureau of Prisons for a term of Seven (7) months,

pursuant to 18 U.S.C.   §   3583(e)(3) with credit for time served from August   1,   2018, forward.

        Upon release from imprisonment, the defendant shall be placed on supervised release for

a term of Three (3) years, pursuant to 18 U.S.C.         §   3583(a) & (b)(2). While on supervised

release, the defendant shall comply with the standard conditions that have been adopted by this

court on November 28, 2016. In addition, it is ordered by the Court that the defendant shall

comply with the following special conditions.

       The defendant shall abstain from the use of alcohol and/or all other intoxicants during

the term of supervision.

       The defendant shall participate in a substance abuse treatment program and follow the

rules and regulations of that program. The program shall include testing and examination during

and after the program completion to determine if the defendant has reverted to the use of drugs

or alcohol. The probation officer shall supervise the participation in the program (provider,

location, modality, duration, intensity, etc.). The defendant must pay the costs of such treatment

based on the defendant's ability to pay.

       The defendant shall not use or possess any controlled substances without a valid

prescription. If a valid prescription exists, the defendant must disclose the prescription

information to the probation officer and follow the instructions on the prescription.

       The defendant shall submit to substance abuse testing to determine if the defendant has

used a prohibited substance. The defendant shall not attempt to obstruct or tamper with the

testing methods. The defendant shall pay the costs of testing if financially able.

       The defendant shall not knowingly purchase, possess, distribute, administer, or otherwise
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use any psychoactive substances (e.g., synthetic marijuana, bath salts, etc.) that impair a person's

physical or mental functioning, whether or not intended for human consumption.

          The defendant shall obtain a General Equivalency Diploma while incarcerated or under

terms of Supervised Release.

          The fine and special assessment monthly payment is now $40.00 per month. First

payment due no earlier than 60 days after release from imprisonment.

          The Court recommends that the defendant be incarcerated as close to San Antonio,

Texas, as possible.

          SIGNED on this 1st day of November, 2018.




                                                 ALt'A MOSES
                                                 UNITED STATES DISTRICT JUDGE


                                            RETURN

I   have executed this Revocation Order as follows:




Defendant delivered on                                to
at                                                             with a certified copy of this Order.


                                                 United States Marshal



                                                 Deputy Marshal
